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 5

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   United States of America
 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00075
                                                                 1:18-CR-00076 LJO
12                                Plaintiff,
13                         v.                           AMENDED STIPULATION TO CONTINUE
                                                        SENTENCING HEARING; AND ORDER
14   SHEENA TAYLOR,
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for sentencing on September 23, 2019 at 10:00

21 a.m.

22          2.     The government has requested a continuance of the sentencing hearing because counsel is

23 devoting a significant amount of time to trial preparation in the case of a co-defendant, Joseph Vasquez,

24 Jr., whose trial is scheduled to begin on October 1, 2019. For this reason, counsel has been unable to

25 devote a sufficient amount of time to reviewing the final PSR and preparing for the sentencing hearing.

26          3.     The parties have conferred and are available on October 21, 2019 for sentencing. The

27 United States Probation Officer was contacted and does not object to the requested continuance.

28

      CONTINUANCE STIPULATION                           1
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           Case 1:18-cr-00075-JLT-BAM Document 81 Filed 09/20/19 Page 2 of 2


 1         4.     The parties, therefore, stipulate that the sentencing hearing, currently scheduled for

 2 September 23, 2019, should be rescheduled for October 21, 2019 at 10:00 a.m.

 3         IT IS SO STIPULATED.

 4

 5
     Dated: September 19, 2019                              MCGREGOR W. SCOTT
 6                                                          United States Attorney
 7
                                                            /s/ MELANIE L. ALSWORTH
 8                                                          MELANIE L. ALSWORTH
                                                            Assistant United States Attorney
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10
     Dated: September 19, 2019                              /s/ AMANDA K. MORAN
11                                                          AMANDA K. MORAN
12                                                          Counsel for Defendant
                                                            Sheena Taylor
13

14
                                         ORDER
15
           Granted. No further continuances. The matter is continued to October 21, 2019 at 10:00 a.m.
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17 IT IS SO ORDERED.

18      Dated:   September 20, 2019                         /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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      CONTINUANCE STIPULATION                           2
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